                      Case 5:15-cr-00226-EJD Document 102 Filed 01/12/16 Page 1 of 1 Clear Form
CAND TDOF (Rev. 03/2013)
                                                          UNITED STATES DISTRICT COURT
                                                         NORTHERN DISTRICT OF CALIFORNIA
                                                 TRANSCRIPT DESIGNATION AND ORDERING* FORM
           For appeals to the Ninth Circuit United States Court of Appeals; do not use for appeals to the Federal Circuit.
 9th Cir. Court of Appeals Case No:                                          District Court Case No(s)
                                            16-10010                                                        CR 15-00226-EJD
 Short Case Title                                                            Notice of Appeal Date & District Court Docket No.
USA v. Douglas York                                                           01/07/2016                                        99
 Attorney or Pro Se Party Name:                                              Address:
                                                                                        55 S. Market St., #820
Graham Archer                                                                           San Jose, CA 95113
 Telephone:                                                                  Email:
                 (408) 291-7753                                                         graham_archer@fd.org
INSTRUCTIONS FOR COMPLETING THIS FORM:
For information about designating transcripts for an appeal before the Ninth Circuit Court of Appeals, refer to the Federal Rules of Appellate Procedure,
the Ninth Circuit’s Local Rules and the instructions below. If you have further questions, contact the Court Reporter Supervisor in the court division in
which your case was filed (cand.uscourts.gov/courtreportercontact).
  1.     Designate transcripts. Open and read the Minutes document for each proceeding via the links on the ECF docket. To designate a particular
         proceeding’s transcript as part of the record on appeal, enter in the table below: the hearing date, court reporter's name, hearing type and, if
         you are designating transcripts in multiple case numbers, the case number for this proceeding. One line per proceeding/transcript. If you need
         more space, complete and attach a second copy of this form. If you are not designating transcripts, proceed to item #4.
  2.     Identify transcripts already ordered. REVIEW the ECF docket sheet to determine which, if any, of the transcripts you have designated, are
         already e-filed. In the right column of the table, CHECK “yes” and enter the docket number of each designated, e-filed transcript OR “no” for
         each designated transcript that needs to be ordered. If all transcripts are e-filed, proceed to item #4.
  3.     Order transcripts. For any remaining designated transcripts that have not been e-filed, COMPLETE, separately for each court reporter, a CAND
         435 Transcript Order (CJA counsel should instead complete CJA 24 forms and submit them to the CJA Unit). E-FILE each CAND 435 Transcript
         Order in the U.S. District Court case.
  *IMPORTANT: Transcripts are not considered “ordered” until you have (1) EITHER e-filed a CAND 435 Transcript Order for each court reporter OR
  submitted a CJA 24 form to the CJA Unit for each court reporter AND (2) made payment arrangements. Unless payment is by the U.S. government,
  payment arrangements may be deemed made on the date the court reporter receives your deposit check. Therefore, you should contact the court
  reporter immediately upon e-filing your CAND 435 Transcript Order to make payment arrangements. Please allow at least one week for making
  payment arrangements or processing your CJA 24 form to meet your Court of Appeals deadline for ordering transcripts.

 HEARING DATE:                COURT REPORTER :                      HEARING TYPE:              CASE No.              TRANSCRIPT E-FILED? ECF Dkt #?

                                                                                                                Yes; Dkt # 53
08/04/2015           Lee Anne Shortridge                               PTC                 CR 15-226           ✔ No; I have ordered or will order it.
                                                                                                               
                                                                                                                Yes; Dkt # 62
8/24/2015               Irene Rodriguez                                PTC                 CR 15-226           ✔ No; I have ordered or will order it.
                                                                                                               
                                                                                                                Yes; Dkt # 64
8/25/2015               Irene Rodriguez                                Trial               CR 15-226           ✔ No; I have ordered or will order it.
                                                                                                               
                                                                                                                Yes; Dkt # 68
8/26/2015               Irene Rodriguez                                Trial               CR 15-226           ✔ No; I have ordered or will order it.
                                                                                                               
                                                                                                                Yes; Dkt # 71
8/27/2015               Irene Rodriguez                                Trial               CR 15-226           ✔ No; I have ordered or will order it.
                                                                                                               
                                                                                                                Yes; Dkt # 77
8/28/2015               Irene Rodriguez                                 Trial              CR 15-226           ✔ No; I have ordered or will order it.
                                                                                                               
                                                                                                                Yes; Dkt # 96
1/4/2016                Irene Rodriguez                         Sentencing                 CR 15-226           ✔ No; I have ordered or will order it.
                                                                                                               
If you are submitting multiple pages, please complete the blanks at right: Page ___ of ___.
  4.     Certify and sign. Check ONE of the following and SIGN at the bottom.
        I do not intend to designate any portion of the transcript and will notify all counsel of this intention.
        All designated transcripts are already e-filed in the U.S. District Court case(s) at the docket numbers indicated above.
       
       ✔ As retained counsel (or litigant proceeding in pro per), I am ordering herewith by e-filing a CAND 435 Transcript Order Form the designated
         transcripts indicated above and I guarantee payment to the court reporter of the cost thereof.
        As appointed or Government counsel, I certify that I have  submitted a CJA Form 24 or  e-filed a CAND 435 Transcript Order Form and
         that payment arrangements have been made or will be made today authorizing preparation of the transcript at the expense of the United
         States. I agree to recommend payment for work done prior to cancellation of this order.
By signing below, I certify that I will order and make payment arrangements today for all transcripts designated on this form not already e-filed.
                                                                                     s/ Graham Archer
                                                                               ______________________________________________
                                                                                      Signature of Attorney or Pro Se Party
